      Case: 3:08-cr-00087-wmc Document #: 392 Filed: 03/26/10 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

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UNITED STATES OF AMERICA,
                                                                  ORDER
                            Plaintiff,
                                                                  08-cr-87-bbc

              v.

JARRELL A. MURRAY,

                            Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       Defendant has written to the court asking for a copy of his sentencing transcript at

government expense. He does not state why he needs the transcript but I assume he wishes

to use the transcript to pursue a motion under 28 U.S.C. § 2255. I construe his letter as

request for preparation of the transcripts at government expense, pursuant to 28 U.S.C.

§753(f), which provides in relevant part:

              Fees for transcripts furnished in proceedings brought under
              section 2255 of this title to persons permitted to sue or appeal
              in forma pauperis shall be paid by the United States . . . if the
              trial judge or a circuit judge certifies that the suit or appeal is
              not frivolous and that the transcript is needed to decide the
              issue presented by the suit or appeal.



       Defendant has not said what aspect of his conviction he wishes to challenge or

explained how the transcript is necessary to decide the issue. Without this information, I



                                              1
      Case: 3:08-cr-00087-wmc Document #: 392 Filed: 03/26/10 Page 2 of 2




cannot certify either that his motion would not be frivolous or that the transcript is

necessary. Therefore, his request for preparation of the transcripts at government expense

will be denied without prejudice.

      If defendant wishes, he may obtain a copy of the transcripts at his own expense by

writing directly to the Court Reporters Office, United States District Court, 120 N. Henry

Street, Madison, WI, 53703, (608) 255-3821.

      As to defendant’s request for a copy of his plea agreement, he may obtain it by

sending a check or money order made payable to the clerk of courts for 30 cents (10 cents

per page) and a copy will be sent to him.




                                            ORDER

      IT IS ORDERED that defendant’s motion for preparation of transcripts at

government expense pursuant to 28 U.S.C. §753(f) is DENIED without prejudice.


      Entered this 26th day of March, 2010.

                                            BY THE COURT:
                                            /s/
                                            BARBARA B. CRABB
                                            District Judge




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